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                                                                                      60 Park Place, Suite 1100
Krovatin Nau LLC                                                                     Newark, New Jersey 07102
                                                                               973-424-9777 Fax 973-424-9779
                                   ATTORNEYS AT LAW                                         www.krovatin.com

Gerald Krovatin
Helen A. Nau*

Also Admitted in NY*




                                             April 16, 2021

    VIA ELECTRONIC FILING

    Honorable Mark Falk, Chief
     United States Magistrate Judge
    United States District Court
    Frank R. Lautenberg U.S. Post Office
     & Courthouse Building
    One Federal Square
    Newark, New Jersey 07102

                       Re: City of Hoboken v. Exxon Mobil Oil Corp., et al.
                             Civil Action No. 2:20-cv-14243 JMV-MF)

     Dear Chief Judge Falk:

                  I write in response to the Court's Text Order of today's date (ECF 111), which
    directs us to submit a proposed form of Order in connection with Plaintiffs pro hac vice
    applications.
                       Please note that we did submit a form of Order and Your Honor executed and filed
    it on November 5, 2020, see ECF 72. I enclose a copy of that Order for the Court's reference. If
    there is anything else that the Court requires in connection with this issue, kindly so advise.
                       Thank you for your attention to this matter.

                                             Respectfully submitted,

                                             /s/Gerald Krovatin


    Cc: All counsel of record
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EMERY CELL! BRINCKERHOFF ABADY WARD & MAAZEL LLP
Jonathan S. Abady, Esq. (pro hac vice)
Matthew D. Brinckerhoff, Esq. (jjro hac vice)
Ananda V. Burra, Esq. (pro hac vice)
Max Selver, Esq. (pro hac vice)
600 Fifth Avenue, 10th Floor
New York, New York 10020
(212)763-5000

KROVATIN NAU LLC
Gerald Krovatin, Esq. (Attorney No. 024351977)
Helen A. Nau, Esq. (Attorney No.030181993)
60 Park Place, Suite 1100
Newark, NJ 07102
(973) 424-9777

Attorneys for Plaintiff

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 CITY OF HOBOKEN,
                                              Civil Action No. 2:20-cv-14243 (JMV-MF)
               Plaintiff,

        -against-
                                              CONSENT ORDER ADMITTING COUNSEL
EXXON MOBIL CORP., EXXONMOBIL                          PRO HAC VICE
OIL CORP., ROYAL DUTCH SHELL PLC,
SHELL OIL COMPANY, BP P.L.C., BP                      ELECTRONICALLY FILED
AMERICA INC., CHEVRON CORP.,                               DOCUMENT
CHEVRON U.S.A. INC.,
CONOCOPHILLIPS, CONOCOPHILLIPS
COMPANY, PHILLIPS 66, PHILLIPS 66
COMPANY, AMERICAN PETROLEUM
INSTITUTE,

               Defendants.


              THIS MATTER having been opened to the. Court by Krovatin Nau LLC attorneys

for Plaintiff City of Hoboken for an Order permitting Jonathan S. Abady, Esq., Matthew D.

Brinckerhoff, Esq., Ananda V. Burra, Esq., and Max Selver, Esq., of the law firm Emery Celli
 Case
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 Brinckerhoff Abady Ward & Maazel LLP to appear and to participate ^ro hac vice in this matter

 and the Court having considered the Certifications of Jonathan S. Abady, Matthew D.

 Brinckerhoff, Ananda V. Burra and Max Selver in support of this application, and upon good cause

 appearing;


                IT IS on this 5 day of November 2020

                ORDERED that Jonathan S. Abady, Esq., Matthew D. Brinckerhoff, Esq., Ananda

V. Burra, and Max Selver, Esq. to be permitted to appear pro hac vice in the above captioned

matter pursuant to Local Civil Rule 101.1 (c) and the individual practices of this Court; and it is

further


                ORDERED that all pleadings, briefs and other papers filed with the Court shall be

signed by a member or associate of the firm of Krovatin Nau LLC, attorneys of record for the

Plaintiff, who shall be held responsible for said papers and for the conduct of the cause, and who

shall be present in Court during all steps of this proceedings, unless expressly excused by the

Court, and who will be held responsible for the conduct of the attorneys admitted; and it is further

               ORDERED that Jonathan S. Abady, Matthew D. Brinckerhoff, Ananda V. Burra

and Max Selver shall pay the annual fee required by the New Jersey Lawyers' Fund for Client

Protection in accordance with the New Jersey Court Rule 1 :28-2(a); and it is further

               ORDERED that the Clerk of this Court shall forward a copy of this Order to the

Treasurer of the New Jersey Fund for Client Protection; and it is further

               ORDERED that Jonathan S. Abady, Matthew D. Brinckerhoff, Ananda V. Burra,

and Max Selver shall comply with the provisions of L.Civ.R. 101 (c )(3) and submit payment to the

United States District Court, District of New Jersey; and it is further



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                ORDERED that my firm will be responsible for the filings of all pleadings, briefs,

stipulations other papers filed with the Court on behalf of Plaintiff.



                                                                           ^ ^^
                                                                          .•••--•-^jl
                                                                         *y




                                                           Honorable Mark Falk
                                                           Chief United States Magistrate Judge




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